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                            MASSACHUSETTS DEPARTMENT OF REVENUE
                            COLLECTIONS BUREAU - BANKRUPTCY UNIT

                             100 CAMBRIDGE STREET - 7th FLOOR, BOSTON
Christopher C. Harding
                           Mailing Address: PO BOX 9564, BOSTON, MA 02114-9564
Commissioner
                                 Phone: (617) 626-3875   Fax: (617) 626-3796

ANDREW GREENHUT                                                   Date: 03/29/2019
21 KINGSTON ST                                                    Chapter 13
SOMERVILLE, ​MA ​02144                                            Case Number: 19-10782 JNF
                                                                  SSN: ***-**-2515


             NOTICE BY COMMISSIONER OF MASSACHUSETTS DEPARTMENT
               OF REVENUE OF UNFILED PREPETITION TAX RETURNS AND
                             REQUEST FOR THE SAME


   PLEASE BE ADVISED that the records of the Massachusetts Department of Revenue (“MDOR”)
indicate that you have not filed certain tax returns that you appear to be required to file. The
accompanying schedule lists what these presently appear to be. MDOR hereby demands that you file all
Massachusetts tax returns that you have been required to file but have not filed, including those listed on
the schedule.

   PLEASE TAKE NOTE that Section 1308(a) of the Bankruptcy Code requires that no later than the
day before the first scheduled meeting of creditors in your Chapter 13 case you must have filed with the
appropriate taxing authorities all returns that were required to be filed for all taxable periods ending
during the four (4) year period ending on the filing of your petition. While under appropriate
circumstances the trustee or the court can extend that deadline, the failure(s) to file any of those returns
before the required or extended deadline are grounds under Section 1307(e) of the Bankruptcy Code for
dismissal or the conversion to Chapter 7 of your case. Under applicable law, the burden is upon you to
demonstrate that you were not legally required to file a return for each tax period, if that is your position.
However, if the return is one required by Section 1308(a) and the original or extended deadline has
passed without filing the return(s), even if the dispute is not resolved by then, then your case can still be
dismissed or converted to Chapter 7 if the court finds that you do not meet your burden.

  PLEASE ALSO BE ADVISED THAT unless we receive a tax return for each tax period of each tax
type as set forth in the schedule within thirty (30) days of this notice (whether the return is a required one
under Section 1308(a) or not), then in accordance with G.L. c. 62C, § 28, MDOR may determine the tax
due according to our best information and belief (Any such assessment(s) would be in addition to any
exercise or pursuit of such other rights and remedies).

   If you have an attorney representing you in this case, you may wish to consult your attorney on these
issues. If there are any further questions, your attorney or you may contact the Massachusetts Department
of Revenue Bankruptcy Unit at (617) 626-3875 or confer with the MDOR representative at your Section
341 meeting of creditors should one be in attendance.
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    Account Type                          Filing Period              Filing Status
    Personal Income Tax                   12/31/2014


PLEASE TAKE FURTHER NOTICE that Christopher C. Harding, as he is Commissioner of Revenue
for the Commonwealth of Massachusetts, by and through his undersigned agent, hereby makes demand
upon the Debtor to file forthwith the above-identified tax returns.




                                     CHRISTOPHER C. HARDING
                                     COMMISSIONER
                                     MASSACHUSETTS DEPARTMENT OF REVENUE


                                     By his duly authorized agent,




                                     /s/ Sandra Gaviria
                                     MASSACHUSETTS DEPARTMENT OF REVENUE
                                     BANKRUPTCY UNIT - COLLECTIONS BUREAU
                                     100 CAMBRIDGE STREET, PO BOX 9564
                                     BOSTON, MA 02114-9564
                                     (617) 626-3875
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                          MASSACHUSETTS DEPARTMENT OF REVENUE
                          COLLECTIONS BUREAU - BANKRUPTCY UNIT

                             100 CAMBRIDGE STREET - 7th FLOOR, BOSTON
Christopher C. Harding
                                  PO BOX 9564, BOSTON, MA 02114-9564
Commissioner
                                Phone: (617) 626-3875 Fax: (617) 626-3796



In re: ANDREW GREENHUT                                                Chapter 13
                                                                      Case Number: 19-10782 JNF




                                        CERTIFICATE OF SERVICE


      I, Sandra Gaviria, hereby certify that I have caused the attached Commissioner of the

Massachusetts Department of Revenue's Notice of Unfiled Prepetition Tax Returns and Request For The

Same Pursuant To 11 U.S.C. Section 1308, to be served by first class mail, postage prepaid, upon

parties or persons appearing on the accompanying SERVICE LIST attached hereto who were not listed

as being served electronically upon.




                                         RICHARD N. GOTTLIEB
                                         TEN TREMONT STREET, STE 11, 3RD FLOOR
                                         BOSTON, MA 02108-0000



                                         Chapter 13 Trustee
                                         PO BOX 8250
                                         BOSTON, MA 02114



                                         /s/ Sandra Gaviria
                                         MASSACHUSETTS DEPARTMENT OF REVENUE
                                         03/29/2019
